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                                                                                 f(SPACE BELOW FOR FILING STAMP ONLY)

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 4

 5

 6    Attorney for Defendant, ALI MOSARAH

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 9                                IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                       ******
11
      UNITED STATES OF AMERICA,                             Case No.: 1:13-CR-00103-AWI-BAM (002)
12
                         Plaintiff,
13                                                          WAIVER OF APPEARANCE; ORDER.
               v.
14

15    ALI MOSARAH,

16                       Defendant.

17

18             TO THE UNITED STATES DISTRICT COURT; UNITED STATES

19             ATTORNEY’S OFFICE, BY AND THROUGH ITS REPRESENTATIVES:

20             Defendant ALI MOSARAH by and through his attorney, ROGER D. WILSON, hereby

21    applies to this Court for an Order waiving his appearance at the Status Conference currently

22    scheduled for August 24, 2015, at 1:00 p.m., before the Honorable Magistrate Judge Barbara A.

23    McAuliffe. This request is made because counsel for Mr. Mosarah requires additional time to

24    review and analyze the voluminous discovery (40 CD’s and 7,000 pages of documents) related

25    to this matter in order to explore a meaningful disposition of the case.

26               Therefore, in all likelihood, a further status hearing will be scheduled at the next

27    hearing.

28    ///
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 1             Mr. Mosarah has maintained regular and routine contact with his counsel, and gives his

 2    counsel full authority to act on his behalf at the next hearing. Mr. Mosarah has discussed the

 3    upcoming Status Conference with counsel and is satisfied that all relevant matters have been

 4    adequately reviewed and explained.

 5             Lastly, Mr. Mosarah’s counsel has discussed this waiver of appearance with counsel for

 6    the Government, who had no objection.

 7             It is hereby requested that Defendant ALI MOSARAH’S appearance at the August 24,

 8    2015, Status Conference be excused.

 9             Respectfully submitted,
10    Dated:       August 17, 2015          By:                  /s/ Roger D. Wilson
11                                                             ROGER D. WILSON
                                                       Attorney for Defendant ALI MOSARAH
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15                                                ORDER
16             Defendant ALI MOSARAH’S request for a waiver of appearance came before this
17    Court and based thereon, and for GOOD CAUSE shown, the COURT ORDERS AS
18    FOLLOWS:
19             Defendant ALI MOSARAH is hereby excused from appearing at the 9th Status
20    Conference currently scheduled August 24, 2015, at 1:00 p.m.
21

22    IT IS SO ORDERED.

23
         Dated:      August 17, 2015                          /s/ Barbara A. McAuliffe                 _
24                                                      UNITED STATES MAGISTRATE JUDGE

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